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                                                                                          JAN 2 9 2020
                                UNITED STATES DISTRICT COURT                             U.S. DISJRiCTGOURT
                                                                                       EASTERN lJISTfilGT OF MO
                                EASTERN DISTRICT OF MISSOURI                                  ST.LOUIS
                                      EASTERN DIVISION

UNITED STATES OF AMERICA,                           )
                                                    )
           Plaintiff,                               )
                                                    )
v.                                                  )   No. Sl-4:18-cr-00876-JAR-NCC
                                                    )
ASHU JOSHI,                                         )
                                                    )
           Defendant.                               )

                                 SUPERSEDING INDICTMENT

                                                COUNT I
                                                                                                                  _)
     The Grand Jury charges that:

     At all times pertinent to the charges in this indictment:

     1.     Federal law defined the term:

            (a)         "minor" to mean any person under the age of eighteen years (18 U.S.C. §

                        2256(a));

            (b)         "sexually explicit conduct" to mean actual or simulated

                        (i)     sexual intercourse, including genital-genital, oral-genital, anal-

                                genital, or oral-anal, whether between persons of the same or

                                opposite sex,

                        (ii)    bestiality,

                        (iii)   masturbation,

                        (iv)    sadistic or masochistic abuse, or

                        (v)     lascivious exhibition of the genitals or pubic area of any person (18

                                U.S.C. §2256(2)(A)); and
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                     (c)    "computer" to mean an electronic, magnetic, optical, electrochemical or

                            other high speed data processing device performing logical, arithmetic or

                            storage functions, includillg any data storage facility or communications

                            facility directly related to or operating in conjunction with such device. (18

                            U.S.C.§2256(6));

                     (d)    "child pornography" to mean any visual depiction, including any

                            photograph, film, video, picture, or computer or computer-generated image

                            or picture, whether made or produced by electronic, mechanical, or other

                            means, of sexually explicit conduct, where--

                            (A)    the pn!>duction of such visual depiction involves the use of a minor

                                   engaging in sexually explicit conduct; or

                            (C)    such visual depiction has been created, adapted, or modified to

                                   appear that an identifiable minor, is engaging in sexually explicit

                                   conduct.

            2.       The "Internet" was, and is, a computer communications network using interstate

    and foreign lines to transmit data streams, including data streams used to store, transfer and receive

    graphic files.

            3.       Between on or about March 1, 2018, and on or about October 10, 2018, in the

    Eastern District of Missouri, and elsewhere,

                                               ASHU JOSID,

    the Defendant herein, did knowingly employ, use, persuade, induce, entice, and coerce a minor,

    "M.D." to engage in sexually explicit conduct, specifically, Ashu Joshi persuaded M.D. to produce

    images that depicted M.D. in a lascivious display of her genitals, and said sexually explicit conduct


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was for the purpose of producing a visual depiction of such conduct, to wit: images of M.D. in a

lascivious display of her genitals, and such visual depictions were transported to the defendant,

using the internet, which is a means and facility of interstate and foreign commerce, i.e., the

Facebook Messenger Application.

In violation of Title 18, United States Code, Section 2251 (a) and punishable under Title 18, United

States Code, Section 2251(e).

                                            COUNT II

       The Grand Jury further charges that:

       1.      The allegations contained in paragraphs one, two, and three of Count I of this

Indictment are incorporated by reference as if fully set forth herein.

       2.      Between on or about March 1, 2018, and on or about October 10, 2018, in the

Eastern District of Missouri, and elsewhere,

                                          ASHU JOSHI,

the defendant herein, did knowingly transport an individual under the age of eighteen in interstate

and foreign commerce, with the intent that the individual engage in any sexual activity for which

a person can be charged with a criminal offense; to wit: defendant, who was at least twenty-one

years of age, transported M.D. from the State of Kentucky to the Eastern District of Missouri and

engaged in oral sex with M.D. in' the Eastern District of Missouri, know,ing M.D. was under the

age of seventeen years, in violation of Missouri Revised Statute, Section 566.061 and

In violation of Title 18, United States Code, Sections 2423(a) ~d 2 and punishable under Title 18,

United States Code, Section 2423(a).

                                            COUNT III

       The Grand Jury further charges that:


                                                  3
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        1.     The allegations contained in paragraphs one, two, and three of Count I of this

Indictment are incorporated by reference as if fully set forth' herein.

       2.      Between on or about March 1, 2018, and on or about October 10, 2018, in the

Eastern District of Missouri, and elsewhere,

                                           ASHU JOSHI,

the defendant herein, did knowingly distributed an image and a video of child pornography over

the internet, a means or facility of interstate commerce, and these images and videos were visual

depictions that involved the use of a minor M.D. engaging in sexually explicit conduct and such

visual depictions were of a minor engaging in sexually explicit conduct, including but not limited

to the following:


       a.      "c3sp2wfx0k8coc0o38600125_241722836470858_3465902045091856384_o.jpg

               " - a graphic image file of a minor female, M.D., in a lascivious display of her

               genitals; and

       b.      "lchwm9o7n49wwkkc38818123 1932222680134439- 7333792928642367488- o

               .jpg" - a graphic image file that depicts M.D. in a lascivious display of her genitals

               while manipulating her vagina with her fingers.

In violation of Title 18, United States Code, Section 2252A(a)(2).


                                            COUNT IV

       The Grand Jury further charges that:

        1.     The allegations contained in paragraphs one, two, and three of Count I of this

Indictment are incorporated by reference as if fully set forth herein.

       2.      Between on or about August 18, 2018, and on or about October 10, 2018, in the


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Eastern District of Missouri, and elsewhere,

                                          ASHUJOSID,

       the defendant herein, did knowingly receive videos and images of child pornography over

the internet, a means or facility of interstat~ commerce, and these videos and images were visual

depictions that involved the use of a minor engaging in sexually explicit conduct and such visual

depictions were of a minor engaging in sexually explicit conduct, including but not limited to the

following:

       a.      7d89d651-0f2c-4afc-a90d-b3dlb19a46a6.mp4 - a graphic video file depicting a

               minor prepubescent male infant in a lascivious display of his genitals; and

       b.      74e29381-2482-4d96-98fa-7ab3c6644e9a.mp4 - a graphic video file depicting a

               minor prepubescent female child penetrating her geriitals.

In violation of Title 18, United States Code, Section 2252A(a)(2).


                                 FORFEITURE ALLEGATION

       The Grand Jury further finds by probable cause that:

       1.           Pursuant to Title 18, United States Code, Sections 2253(a)(2) and (3), upon

conviction of an offense in violation of Title 18, United States Code, Sections 2423(a), 2251(e),

and 2252A as set forth in Counts I through III, the defendant shall forfeit to the United States of

America any property, real or personal, constituting or traceable to gross profits or other proceeds

obtained from such offense, and any property, real or personal, used or intended to be used to

commit or to promote the commission of such offense or any property traceable to such property.

       2.           Specific property subject to forfeiture includes, but is not limited to, the

following:

               a.         2017 Mercedes-Benz S550, VIN: WDDUG8FB5HA305753; and

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               b.         9362 Caddyshack Circle, St. Louis, MO 63127, Parcel: 27N-52-0201.

       3.           If any of the property described above, a.s a result of any act or omission of the

defendant:

               a.          cannot be located upon the exercise of due diligence;

               b.          has been transferred or sold to, or deposited with, a third party;

               c.          has been placed beyond the jurisdiction of the court;

               d.          has been substantially diminished in value; or

               e.          has been commingled with other property which cannot be divided

                           without difficulty,

the United States of America will be entitled to the forfeiture of substitute property pursuant to

Title 21, United States Code, Section 853(p).


                                                        A TRUE BILL.




                                                        FOREPERSON

JEFFREY B. JENSEN
United States Attorney




COLLEEN LANG, #56872MO
Assistant United States Attorney




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